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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Elizabeth Goyke,                                          Case No.

          Plaintiff,

v.                                                                    COMPLAINT

Commercial Recovery Systems, Inc.
c/o CT Corporation System
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,

                             Defendant.                   Jury Demand Requested

                                     JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

         §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff incurred an obligation to pay money, the primary purpose of which was for

         personal, family, or household uses (the “Debt”).

     4- Plaintiff is a resident of the State of Illinois.

     5- Defendant is a corporation with its principal office in the State of Texas.

     6- Defendant uses instruments of interstate commerce for its principal purpose of business,

         which it the collection of debts.

     7- Defendant regularly attempts to collects, or attempts to collect, debts owed or due another.

     8- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.




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                          FACTS COMMON TO ALL COUNTS

9- On or around February 21, 2013, Defendant telephoned Plaintiff to collect the Debt and

    left a voicemail.

10- In this communications, Defendant failed to state that the communication was from a debt

    collector, as required by 15 USC 1692e(11).

11- Defendant damaged Plaintiff.

12- Defendant violated the FDCPA.

                                                COUNT I

13- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

14- Defendant violated 15 USC §1692e(11) by failing to disclose that a communication was

    from a debt collector.

                                                COUNT II

15- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

16- Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to

    collect, or attempt to collect, the Debt.

                                                COUNT III

17- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

18- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

    methods to collect a debt.

                                         JURY DEMAND

19- Plaintiffs demand a trial by jury.

                                  PRAYER FOR RELIEF

20- Plaintiffs pray for the following relief:




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      a. Judgment against Defendant for Plaintiff’s actual damages, as determined at

         trial, suffered as a direct and proximate result Defendant’s violations of the

         Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

      b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

         violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

         §1692k(a)(2)(A);

      c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

         incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3);

      d. Any other legal and/or equitable relief as the Court deems appropriate.



                                     RESPECTFULLY SUBMITTED,

                                     Meier LLC

                                     By: /s/ Richard J. Meier
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